
81 So. 3d 643 (2012)
DEPARTMENT OF REVENUE obo Lashawndria E. MASH, Appellant,
v.
Miguel D. INGRAM, Appellee.
No. 1D11-3223.
District Court of Appeal of Florida, First District.
March 12, 2012.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Senior Assistant Attorney General, Tallahassee, for Appellant.
No appearance for Appellee.
PER CURIAM.
In light of this Court's decision in Department of Revenue ex rel. Sherman v. Daly, 74 So. 3d 165 (Fla. 1st DCA 2011), the final administrative support order being appealed herein is reversed, and the matter is remanded to the Division of Administrative Hearings for further proceedings.
THOMAS, ROBERTS, and ROWE, JJ., concur.
